                Case 14-50331-gs       Doc 57    Entered 08/29/14 14:55:37       Page 1 of 3



 1

 2

 3

 4         Entered on Docket
     ___________________________________________________________________
         August 29, 2014
 5

 6    NICHOLAS STROZZA, ASSISTANT U.S. TRUSTEE
 7    State Bar #CA 117234
      WILLIAM B. COSSITT, #3484
 8    Office of the United States trustee
      300 Booth Street, Room 3009
 9    Reno NV 89509
      Telephone: (775) 784-5335
10    Fax: (775) 784-5531
11
      Attorneys for United States Trustee
12    Tracy Hope Davis

13                                UNITED STATES BANKRUPTCY COURT
14                                          DISTRICT OF NEVADA
15
      In re:                                       )       Case no: BK-N-14-50331-BTB
16                                                 )       Chapter 11
      AT EMERALD, LLC,                             )
17                                                 )       ORDER CONVERTING CASE TO
                                                   )       CHAPTER 7
18
                                                   )
19                                                 )       Hearing Date: August 22, 2014
                                                   )       Hearing Time: 2:00 p.m.
20                      Debtor.                    )

21             John Beach, Trustee of the Beach Living Trust dated January 22, 1999 (herein “Beach
22
      Trust”) moved on proper notice for an order appointing a trustee, (“Motion” Docket #1641) and
23
      the Motion came on for hearing at the above stated date and time after time was shortened by this
24
      Court’s Order of August 14, 2014, Docket #166. Anthony Thomas and Wendi Thomas appeared
25
      on their own behalf in opposition to the Motion. Docket #’s 179 and 180. Timothy A. Lukas,
26

27    1
          Docket numbers refer to the jointly administered docket BK-N-14-50333-btb.
28                                                     1
              Case 14-50331-gs        Doc 57     Entered 08/29/14 14:55:37        Page 2 of 3



 1   Esq., appeared on behalf of the Beach Trust. William B. Cossitt, Esq. appeared for the US
 2   Trustee, and orally moved for conversion of the case to chapter 7 instead of appointment of a
 3
     chapter 11 trustee.
 4
            The Court having read the pleadings, listened to testimony and the arguments of the
 5
     parties, having reviewed its previous notes and findings from previous hearings and having put
 6

 7   its findings of fact and conclusions of law on the record in open court, including the

 8   incorporation of earlier findings and conclusions from earlier hearings, pursuant to Federal Rule

 9   of Civil Procedure 52 made applicable by Federal Rule of Bankruptcy Procedure 7052, and good
10   cause appearing;
11
            IT IS HEREBY ORDERED that this case is CONVERTED TO CHAPTER 7.
12

13   Respectfully submitted,
14   Nicholas Strozza
15   State Bar # CA 117234
     William B. Cossitt
16   State Bar #3484
     300 Booth Street, #3009
17   Reno NV 89509
     (775) 784-5335
18

19   /s/ WILLIAM B. COSSITT
     __________________________________
20   Attorneys for United States Trustee
     Tracy Hope Davis
21
     APPROVED this 25th day of August, 2014.
22

23
     /s/ Timothy A. Lukas
24   __________________________________
     Timothy A. Lukas, Esq., Attorney for Beach Trust
25

26
                                                   ###
27

28                                                    2
              Case 14-50331-gs        Doc 57     Entered 08/29/14 14:55:37         Page 3 of 3



 1

 2                                     CERTIFICATE OF SERVICE
 3
            In accordance with LR 9021(c), counsel submitting this document certifies as follows:
 4
            ____ The court has waived the requirement set forth in LR 9021(b)(1).
 5
            ____ No party appeared at the hearing or filed an objection to the motion.
 6

 7          __X_ I have delivered a copy of this proposed order to all counsel who appeared at the
     hearing, and any unrepresented parties who appeared at the hearing, and each has approved or
 8   disapproved the order, or failed to respond, as indicated below [list each party and whether the
     party has approved, disapproved, or failed to respond to the document]:
 9
     Timothy A. Lukas, Esq., VIA E-MAIL 08/22/14 APPROVED 8/25/14
10

11   Anthony Thomas and Wendi Thomas, VIA US MAIL 08/22/14 NO RESPONSE
                                    VIA E-MAIL 08/25/14 NO RESPONSE
12
            ____ I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
13   order with the motion pursuant to LR 9014(g), and that no party has objected to the form or
     content of the order.
14

15   DATED this 27th day of August, 2014.
                                                           WILLIAM B. COSSITT
16
                                                           /S/ WILLIAM B. COSSITT
17                                                         TRIAL ATTORNEY for the
                                                           United States Trustee
18
                                                           TRACY HOPE DAVIS
19

20

21

22

23

24

25

26

27

28                                                     3
